Case o-20-O6002-aSt DOC OS Filed Us/ZoizZe Entered Vofcoice LLi04 sy

Anthony F. Giuliano, Esq.

GIULIANO LAW, P.C. #
Attorneys for Movants

445 Broadhollow Road, Ste. 25

Melville. New York 11747

afg@glpcny.com

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
In re: Chapter 11
Case No. 18-71748-67 (AST)
Orion HealthCorp, Inc., et al., Case No. 18-71789 (AST)
Case No. 18-74545 (AST)

Debtors. (Jointly Administered)

Howard M. Ehrenberg in his capacity as Liquidating :
Trustee of Orion Healthcorp, Inc., et al.,
CHT : Holdco, LLC, and CC Capital CHT Holdco LLC,

Plaintiffs, Adv. Pro. No. 20-08053

v.
Parmjit Singh Parmar a/k/a Paul Parmar, et al.,

Defendants.

DECLARATION IN OPPOSITION TO PLAINTIFF’S MOTION FOR
SUMMARY JUDGMENT AND IN SUPPORT OF DEFENDANTS’ CROSS-
MOTION FOR SUMMARY JUDGMENT, DEFAULT JUDGMENT AND
MOTION TO STRIKE

I, John Petrozza, declare, under penalty of perjury, pursuant to 28 U.S.C. §

1746 as follows:
Case o-20-Q6002-aSt DOC OS Filed Us/Zoize Entered Volcolce LLi04 sg

1, I am the manager of Abruzzi Investments LLC and also one of the
defendants in this action and as such am fully familiar with the facts and
circumstances as set forth herein. I make this Declaration (the “Declaration”) in
opposition to Plaintiffs motion for summary judgment and in support of
Defendant’s cross-motion for summary judgment, default judgment and motion to
strike.

a Sometime in 2013, I was approached by Parmar to invest in an entity
know as Constellation Health Investment, LLC (“CHI”). Parmar explained to me
that CHI would in turn fund the acquisition, by Constellation Healthcare
Technology, Inc. (“CHT”), of Orion HealthCorp, Inc. (“Orion”).

3. Based on Parmar’s representation that I would be a substantial owner
of CHI, I agreed to invest over $4 million in CHI and, on or about June 13, 2013 I
wired $4 million to a Robinson Brog escrow account as directed by Parmar and his
counsel. Annexed hereto as Exhibit “A” is proof of the wire transfer.

4. In addition, I paid $300,000 to Orion directly to allegedly cover IPO
related expenses. Annexed hereto as Exhibit “B” is a correspondence from Robinson
Brog to myself regarding the payment to Orion and providing wiring instructions.

5. Based upon documentation produced by the Plaintiff, my $4 million
investment in CHI was in fact transferred to the Robinson Brog IOLA account for
Constellation Health, LLC. See Exhibit “E” to the Giuliano Declaration.

6. It is my understanding that my $4 million was then transferred along

with other money to fund the purchase of Orion by CHT. See Exhibit “E” to the
2
Case o-20-O6002-aSt DOC OS Filed Us/ZoizZe Entered Volcofce LLi04 sy

Giuliano Declaration.

7. Several years later, in 2017 I wanted to lease property in Florida.
Because I had invested so much money with Parmar already and was at a point
where most of my money was locked in investments, I asked Parmar if he could help
me giving me a short-term loan to assist me in obtaining the Florida lease. I
explained to Parmar that I would only need it for a brief period and would repay the

loan right away. He agreed and my assistant Lisa Basich (“Basich”) sent wiring

 

instruction to Parmar. Thereafter, the Funds were transferred to Abruzzi’s bank
account. The whole transaction is contained in text messages between myself and
Paul Parmar which were saved to my phone. Annexed hereto as Exhibit “C” is a
true and correct copy of the relevant text messages.

8. Unfortunately, the lease of the Florida property fell through but I was
able to lease another property instead.

9. When the funds were no longer needed, I advised Basich to return the
Funds Parmar had previously loaned to me.

10. Basich then emailed Parmar to request the wiring instructions to
return the Funds which Parmar provided. See Exhibit “A” to the Basich Declaration

11. Basich then contacted my bank and asked that the Funds be
immediately wired pursuant to Parmar’s instructions. See Exhibit “B” to the Basich
Declaration.

12. On June 29, 2017, the Funds were wired out of the Abruzzi bank

account pursuant to Parmar’s instruction. A true and correct copy of the Abruzzi
3
Case o-20-O6002-aSt DOC OS Filed Us/ZoizZe Entered Vofcoice LLi04 sg

bank statement showing the transfer of the money is annexed hereto as Exhibit “C”.

13. Flash forward three years later, and both I and Abruzzi are being sued
for a “fraudulent conveyance” by the Plaintiff in this case. The problem with the
Plaintiffs case is that I repaid all of the money exactly the way Parmar told me too.
If Parmar told me I had to burn the money in the street to pay him back I would
have done that too. It is preposterous to find me liable for a fraudulent conveyance
when I merely transferred the Funds I was given by Parmar in the manner Parmar
told me to do. IfI didn’t repay him like he said, then I am sure Parmar would have
sued me for the Funds.

14. I had no idea that Parmar was doing anything but directing his own
money as he saw fit as the CEO of the Debtors. I didn’t know, and still do not know,
whether Parmar or the Debtors were insolvent or whether there were judgments
against them at the time of the Transfer.

15. Again, I did not keep the Funds but returned the Funds to Parmar just
as I promised. It would be fundamentally unjust for me to have to pay the Plaintiff
any money under these circumstances.

16. In addition to finding about during the course of these proceedings that
the Plaintiff alleges that the Funds went to an entity set up by Parmar for the
benefit of his girlfriend, but I also learned the several documents I was shown by
the Plaintiff during my deposition contained forgeries of my signature as well as
altered bank statements. A true and correct copy of the relevant portion of my

deposition and the forged and altered documents are annexed hereto as Exhibit “D”
4
Case o-20-06002-aSt DOC OS Filed Us/ZoizZe Entered Vofcolée LLi04 sg

and “E” respectively.

17. I never intended to defraud anybody by borrowing the money from
Parmar and | was good to word when I told him I would pay him back. The fact
that Parmar went on to do something with the money that maybe he should not
have done is not my fault. I certainly did not benefit at all in this situation and
have been harmed by having to defend this lawsuit. Meanwhile, the true
beneficiary of the transfer which according to the Plaintiff is Sunshine and Sartison
get off scot free. How come the Plaintiff didn’t sue the true beneficiary? What is the
real motive for suing me and not Sartison?

18. In the end I believe this lawsuit is completely improper. I believe in
the interests of fairness and justice this case should be dismissed with Prejudice. I
also believe that I should be awarded legal fees for having to defend this action.

I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

4
Executed this 14th day of March 2022. J

 

= * John Betfozza

/ y
